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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
      v.                                    :      Case No. 1:21-cr-00118-RCL
                                            :
ERIC MUNCHEL and                            :
LISA EISENHART,                     :
                                            :
                                            :
                      Defendants.           :

                         GOVERNMENT’S NOTICE OF FILING

       The United States of America, through its attorney, the United States Attorney for the

District of Columbia, respectfully files a copy of the Government’s second informal discovery

letter (without attachments) provided to defense counsel on March 9, 2021.



                                            Respectfully submitted,

                                            Channing D. Phillips
                                            Acting U.S. Attorney
                                            D.C. Bar No. 415793

                                    By:     /s/ Leslie A. Goemaat
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                                             /s/ Ahmed Baset
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                           /s/ Justin Sher
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                             CERTIFICATE     OF   SERVICE

       I HEREBY CERTIFY that I have caused a copy of the foregoing motion to be served
by electronic means, through the Court’s CM/ECF system, upon all parties of record.

                                        /s/ Leslie A. Goemaat
                                        L ESLIE A. G OEMAAT
                                        Assistant United States Attorney
